                                                      Southwest key
                                                        TO galTIS                                                                                                                                National Headquarters
                                                                                                                                                                                                  • Austin, Texas 78721
                                                                                                                                                                         6002Jain Lane

                                                                                                                                         phone: 512.462.2181 • fax: 512.462.2028                      • www.swkey.org


Juan José Sánchez, Ed.D.
 El Presidente/CEO                                   August 10, 2018
 Austin, Texas


   at i         rm     i   ss    i   nii
                                                     M          Mark
                                                           r.            Sava sta                                      Via CMRR &           e-mail:mark.savasta@houstontx.gov
                                                     Houston            Building           official
 Opening               doors               to        Houston            Permitting              Center
 opportunity so                                      1002 Washington                       Avenue
individuals                     can
                                                     Houston,           Texas 77002
achieve their dreams

                                                     Mr. Samuel                Peña                                     Via CMRR &           email:samuel.pena@houstontx.gov
Abriendo puertas de
oportunidad para que                                 Fire       chief
 todas las personas                                  Houston         Fire       Department
logren   sus sueños                                  1801 Smith Street, Suite 700
                                                     Houston,           Texas 77002



        t   i   i   re<T   c)   rs
                                      _              Re:           419 Emancipation Certificate                               of Occupancy
Orlando L. Martínez
chair                                                Dear Mr. Peña               &    Savasta:
Atlanta, Georgia
                                                 Southwest               Key     is  receipt
                                                                                      in                 of your correspondence
                                                                                                          dated August 3, 2018. am writing                                                   I
Anselmo Villarreal
Vice Chair                                       on behalf of                  Southwest Key apparent misunderstandings
                                                                                                         to clear up      regarding the use
Milwaukee,Wisconsin                              of the 419 Emancipation     facility ("Emancipation facility"). Additionally, am seeking                                                I



Elizabeth Villegas                               clarification regarding the facility's certificate of occupancy.
Secretary
Austin, Texas                                   The United                States           is   experiencing            an    influx of unaccompanied                         minors         crossing the
                                                border.            The Emancipation                   facility    is     intended         to provide       compassionate                 child care to
Rosasantis
Treasurer                                       these unaccompanied                              minors        between         the ages      6     and 17. The Office of Refugee and
Austin, Texas                                   Resettlement                    has agreed            that      no child        under the             ageT    six    will       be   housed          at   the
Victor Garza                                    Emancipation                    facility. The shelter              is        not for     housing       or detaining             minors           separated
Immediate Past chair                            from their parents                         and/or guardians             as    your letter indicates. Southwest                         Key       has made
Fresno, California
                                                it abundantly clear that we                              do not support                 separating       families        and we          have       worked
David Marshall                                  diligently to reunite families.
Member
Washington, DC
                                                Your            correspondence                  also states      that the        city     issued      certificate        of    Occupancy for the
                                                Emancipation                facility is "invalid." The meaning                                   of   "invalid"     is        unclear.        Are    we    to
                                                understand                through your correspondence       you                                   have    revoked              the     Certificate         of
                                                Occupancy?                If    our Certificate           of   Occupancy           is   not revoked, we would request that you




                                                                                                    EXHIBIT 9
HQ0130
notify the   Texas   Department of    Health and Human Services of such   as we   understand   you have   informed
them that    we do not have   a   valid   certificate   of Occupancy.

I appreciate your prompt response to this letter.Should you not respond within twenty-four hours we will
consider  our Certificate of Occupancy valid. To accelerate communication, you may reach me via e-mail
at dbrock@swkey.org, or via telephone at the number listed above.




                                               Sincerely,




                                               Douglas      R.   Brock
